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                    Exhibit 4
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                                                Products        Recipes        We Are Gorton’s         Responsibility      Where to buy




                                               FOR THE GOODNESS OF THE PLANET


                                           Our mission remains to bring the goodness of the sea to everyone. That same commitment extends to the
                                           preservation of the planet as well. That is why our Trusted Catch™ program is more than a certification, it is a
                                           constantly evolving commitment to real change in the industry and on the water. Gorton's utilizes the latest
                                           scientific data and best practices to ensure our seafood is responsibly sourced, made, and packaged for
                                           generations to come.




                                                   RESPONSIBLY SOURCED      RESPONSIBLY MADE      RESPONSIBLY PACKAGED




https://www.gortons.com/sustainability/                                                                                                                       1/5
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                                                   Products         Recipes           We Are Gorton’s       Responsibility          Where to buy

                                                                  RESPONSIBLY SOURCED
                   Looking out for the goodness of the sea means that as a leader in sustainable practices, the health of the ocean and fish stocks is
                   top of mind in all we do. We also recognize that responsible sourcing extends beyond the sea. We're proud of the steps we've taken,
                                          like making it a priority to only work with suppliers who share our sustainability philosophy.




               ACHIEVEMENT 1: CERTIFICATION REQUIREMENTS                                                   ACHIEVEMENT 2: INDUSTRY STANDARDS
         Over 99% of our seafood is from sources that are certified with the Marine                We have been engaged in elevating industry standards by pushing for
         Stewardship Council (MSC), Aquaculture Stewardship Council (ASC), Best                responsible fishery management, accurate tracking/reporting of progress, and
         Aquaculture Practices (BAP) or in a credible Fishery Improvement Project.                                        bycatch reduction.




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                                                      Products       Recipes        We Are Gorton’s         Responsibility           Where to buy




                   ACHIEVEMENT 3: STRATEGIC PARTNERSHIPS
       We have partnered with the New England Aquarium on sustainability efforts
                                                                                                        ACHIEVEMENT 4: RESPONSIBLE INGREDIENTS
       for over 14 years, working to improve ocean health and promote sustainable                     Since 2019, 100% of the Palm Oil used is certified sustainable.
                                         fisheries.




                                          While we are proud of our accomplishments so far, we recognize there is still more work to do.




                               GOAL 1                                              GOAL 2                                                 GOAL 3
                                                                                                                                           Best
                            Ecuador Wild
                                                                                Alaska Pollock                                          Aquaculture
                               Shrimp
                                                                                                                                         Practices




https://www.gortons.com/sustainability/                                                                                                                                 3/5
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           Support the Ecuador Gulf of Guayaquil Titi      Develop and lead bycatch reduction                 Increase aquaculture sourcing requirement
                                            Products
             Shrimp Fishery Improvement Project.        Recipes         We 2025.
                                                                            ArePollock
                                                         initiative for Alaska  Gorton’s  fishery byResponsibility
                                                                                                                from BAPWhere
                                                                                                                         2-star to buy 4-star by 2023.
                                                                                                                                to BAP




              The yellow ring represents the approximate progress for each goal



                                                               NEXT: RESPONSIBLY MADE

                                                      The Best Fish, and nothing but
             Gorton’s is obsessed with quality, and we hold everyone who is part of making our products to the same rigorous standards.




                                                                           SUPPLIER INSPECTIONS

                                      All of our suppliers go through an annual risk assessment and are subject to third-party inspections and audits to
                                                                       ensure they continue to meet Gorton’s standards.

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                                               Products       Recipes              We Are Gorton’s           Responsibility          Where to buy
                                                              Products                  Seafood Recipes           Company               Connect
                                                              Delicious Classics        Time Saving               We Are Gorton’s       Find your Favorites
                                                              Smart Solutions           Foodie Approved           Careers               Contact Us
                                                              Everyday Gourmet          Kid Friendly              Special Offers
                                                                                        Smart Meal Choices        Privacy Policy
                                                                                                                  Notice of
                                                                                                                  Collection
                                                                                                                  Legal Notice
                                                                                                                  News
                                                                                                                  Frequently Asked
                                                                                                                  Questions



                                                    Also of Interest       Date Night     Comfort Food       Appetizers




https://www.gortons.com/sustainability/                                                                                                                       5/5
